                                                                                 Motion GRANTED.
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


BONGO PRODUCTIONS, LLC, et al.,                      )
                                                     )
       Plaintiffs,                                   )
                                                     )
       v.                                            )             Civ. Action
                                                     )             No. 3:21-cv-00490
                                                     )             Judge Trauger
CARTER LAWRENCE, et al.,                             )
                                                     )
       Defendants.                                   )
                                                     )

                     MOTION TO ALLOW COUNSEL
   TO PARTICIPATE IN CASE MANAGEMENT CONFERENCE BY TELEPHONE

       Plaintiffs move the Court to allow counsel for Plaintiffs Emerson J. Sykes and Stella

Yarbrough to participate by telephone in the August 23, 2021 Case Management Conference.

       1.      The initial Case Management Conference is set in this matter before Judge

Trauger at 3:00 PM on Monday, August 23, 2021 in her courtroom in Nashville, Tennessee.

       2.      Thomas H. Castelli will appear in person at the Case Management Conference as

lead counsel for Plaintiffs.

       3.      Attorneys for Plaintiffs, Emerson J. Sykes and Stella Yarbrough, respectfully

request permission to attend the case management conference via telephone.

       4.      Mr. Sykes is admitted pro hac vice and maintains his office in New York, NY.

He will not be able to travel to Tennessee to appear in person.

       5.      Ms. Yarbrough maintains her office in Nashville; however, she does not plan to

attend the conference under the present circumstance of the COVID-19 pandemic to avoid

crowding the courtroom.




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